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                11            Attorneys for FOREIGN DEBTOR
                              VITALY IVANOVICH SMAGIN
                12
                13                                 UNITED STATES DISTRICT COURT
                14
                                    CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
                15
                16            IN RE:                                     Case No: ___________________

                17            VITALY IVANOVICH SMAGIN,                   [Regarding U.S. Bankruptcy Court for
                                                                         the Central District of California
                18                         Foreign Debtor.               Chapter 15
                                                                         Case No. 2:21-bk-15342-BB]
                19
                                                                         NOTICE OF MOTION AND
                20                                                       MOTION OF FOREIGN DEBTOR
                                                                         VITALY IVANOVICH SMAGIN
                21                                                       FOR WITHDRAWAL OF
                                                                         REFERENCE
                22
                                                                         To Be Assigned to District Court
                23                                                       Pursuant to C.D. Cal. L.B.R. 5011-2
                24
                25
                26
                27
                28
 Baker & McKenzie LLP                                                         Case No.
10250 Constellation Blvd.,
       Suite 1850                      FOREIGN DEBTOR’S NOTICE OF MOTION AND MOTION FOR WITHDRAWAL OF REFERENCE
 Los Angeles, CA 90067
   Tel: 310.201.4728
                             Case 2:21-cv-08447-RGK Document 1 Filed 10/25/21 Page 2 of 3 Page ID #:2



                   1                                  NOTICE OF MOTION AND MOTION
                   2
                                   TO THIS HONORABLE COURT, ALL PARTIES, AND RESPECTIVE
                   3
                   4         COUNSEL OF RECORD:

                   5               PLEASE TAKE NOTICE that Foreign Debtor, Vitaly Ivanovich Smagin, hereby
                   6
                             respectfully moves this Honorable Court to withdraw the reference for Case
                   7
                   8         No. 2:21-bk-15342-BB, currently pending in the United States Bankruptcy Court for

                   9         the Central District of California concerning the above-name Debtor (the “Chapter 15
                10
                             Case”).
                11
                12                 PLEASE TAKE FURTHER NOTICE that this Motion is made pursuant to 28

                13           U.S.C. § 157(d), Rule 5011 of the Federal Rules of Bankruptcy Procedure, and
                14
                             Rule 5011 of the Local Bankruptcy Rules of the Bankruptcy Court for the Central
                15
                16           District of California, and is based on the accompanying Memorandum of Points and

                17           Authorities, the Declaration of Nicholas O. Kennedy, the proposed Order as well as the
                18
                             pleadings, motions, and documents on file with the Bankruptcy Court.
                19
                20                 The Court may properly take judicial notice of the Bankruptcy Court’s records
                21           relating to the Chapter 15 Case. Reyn’s Pasta Bella, LLC v. Visa USA, Inc. , 442 F.3d
                22
                             741, 746 n. 6 (9th Cir. 2006) (holding that “court filings and other matters of public
                23
                24           record” are subject to judicial notice); see also Fed. R. Evid. 201(b) (noting the court
                25           may judicially notice facts not subject to reasonable dispute that “can be accurately and
                26
                             readily determined from sources whose accuracy cannot reasonably be questioned”).
                27
                28
                                                                        2        Case No.
 Baker & McKenzie LLP
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                             Case 2:21-cv-08447-RGK Document 1 Filed 10/25/21 Page 3 of 3 Page ID #:3



                   1                                          REQUESTED RELIEF
                   2
                                   Foreign Debtor Smagin respectfully requests that pursuant to 28 U.S.C. § 157(d),
                   3
                   4         the Court issue an order to withdraw the reference of the Chapter 15 Case.

                   5
                   6
                   7          Dated: October 25, 2021                 BAKER & McKENZIE LLP
                                                                      Nicholas O. Kennedy
                   8
                                                                      Mark D. Bloom (Pro Hac Vice)
                   9                                                  Reginald Sainvil (Pro Hac Vice)
                10
                11
                                                                      By: /s/ Nicholas O. Kennedy
                12
                                                                              Nicholas O. Kennedy
                13                                                    Attorneys for Foreign Debtor
                14                                                    VITALY IVANOVICH SMAGIN
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                                                                       3       Case No.
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